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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 O.B. WILLIAMS,                                        )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:18-cv-02808-TAB-JMS
                                                       )
 GAMMA MECCANICA,                                      )
 GAMMA MECCANICA NORTH AMERICA                         )
 INNOVATIVE RECYCLING SOLUTIONS,                       )
 LLC,                                                  )
                                                       )
                               Defendants.             )

             ORDER ON JANUARY 8, 2019, PRETRIAL CONFERENCE AND
               ORDER SETTING TELEPHONIC STATUS CONFERENCE

        Plaintiff appeared in person and by counsel January 8, 2019, for a pretrial conference,

 and Defendants appeared by counsel. Discussion was held regarding discovery, settlement, and

 related matters. Plaintiff’s counsels’ motion to withdraw [Filing No. 22] is granted, and the

 appearances of Vaughn A. Wamsley and Jeremy S. Baber on behalf of Plaintiff are withdrawn.

 The Clerk and counsel are directed to serve/contact Plaintiff at:

                4018 Bolton Avenue
                Indianapolis, IN 46226
                (317) 640-4716

        The Court encouraged Plaintiff to promptly find counsel, but ensured he had a copy of

 the Case Management Plan and advised Plaintiff that even if he continues to represent himself

 the CMP deadlines will be strictly enforced. Failure to comply with these deadlines may result

 in sanctions, including dismissal.

        This cause is set for a telephonic status conference at 10 a.m. EST on July 12, 2019.

 Plaintiff shall personally call the Court at 317-229-3660, to participate in this conference.
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 Defendants shall participate in this conference by counsel, and the information needed by

 counsel of record to participate in this telephonic conference will be provided by separate

 notification. The purpose of this conference is to address case status, settlement and selecting a

 trial date.

         Date: 1/22/2019



                                        _______________________________
                                       Tim A. Baker
                                       United States Magistrate Judge
                                       Southern District of Indiana



 Distribution:

 All ECF-registered counsel of record via email

 O.B. WILLIAMS
 4018 Bolton Ave.
 Indianapolis, IN 46226
